              Fill in this information to identify your case:

 Debtor 1                 Jamie Kaye Baker
                          First Name                        Middle Name                Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                Last Name


 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA, TUCSON DIVISION

 Case number           4:19-bk-12276
 (if known)
                                                                                                                                    Check if this is an
                                                                                                                                     amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                        12/15


If you are an individual filing under chapter 7, you must fill out this form if:
creditors have claims secured by your property, or
you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
        the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
          and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
         write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral   What do you intend to do with the property that     Did you claim the property
                                                                secures a debt?                                     as exempt on Schedule C?



    Creditor's         Bank of America                                    Surrender the property.                               No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a Reaffirmation    Yes
    Description of       3529 Berkeley Ave, Alton, IL                       Agreement.
    property             62002-3108                                        Retain the property and [explain]:
    securing debt:



    Creditor's         Chase Auto Finance                                  Surrender the property.                               No
    name:                                                                  Retain the property and redeem it.
                                                                          Retain the property and enter into a Reaffirmation    Yes
    Description of       2014 Toyota Avalon                                 Agreement.
    property                                                               Retain the property and [explain]:
    securing debt:



    Creditor's         Mr. Cooper                                         Surrender the property.                               No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a Reaffirmation    Yes
    Description of       3529 Berkeley Ave, Alton, IL                       Agreement.
    property             62002-3108                                        Retain the property and [explain]:

Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                        page 1

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 Debtor 1     Baker, Jamie Kaye                                                                       Case number (if known)    4:19-bk-12276

     securing debt:



     Creditor's    Pennymac Loan Services                               Surrender the property.                                    No
     name:                                                               Retain the property and redeem it.
                                                                         Retain the property and enter into a Reaffirmation         Yes
     Description of    506 William St, Alton, IL                          Agreement.
     property          62002-6148                                        Retain the property and [explain]:
     securing debt:



     Creditor's    Specialized Loan Servicing/Sls                       Surrender the property.                                    No
     name:                                                               Retain the property and redeem it.
                                                                         Retain the property and enter into a Reaffirmation         Yes
     Description of    2803 Hillcrest Ave, Alton, IL                      Agreement.
     property          62002-2944                                        Retain the property and [explain]:
     securing debt:



     Creditor's    Specialized Loan Servicing/Sls                       Surrender the property.                                    No
     name:                                                               Retain the property and redeem it.
                                                                         Retain the property and enter into a Reaffirmation         Yes
     Description of    2803 Hillcrest Ave, Alton, IL                      Agreement.
     property          62002-2944                                        Retain the property and [explain]:
     securing debt:

 Part 2:  List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:              A Storage Inn                                                                                      No
                                                                                                                                  Yes

 Description of leased        5 x 5 storage unit            Surrender
 Property:

 Lessor's name:              Pinnacle Heights                                                                                     No

                                                                                                                                Yes
 Description of leased       Debtor's residence, pays $1136 per month
 Property:



 Part 3:     Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Jamie Kaye Baker                                                        X
       Jamie Kaye Baker                                                                Signature of Debtor 2
       Signature of Debtor 1


Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                         page 2

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 Debtor 1     Baker, Jamie Kaye                                                                     Case number (if known)   4:19-bk-12276


       Date        October 8, 2019                                                Date




Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                 page 3

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               Fill in this information to identify your case and this filing:

 Debtor 1                    Jamie Kaye Baker
                             First Name                             Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


 United States Bankruptcy Court for the:                     DISTRICT OF ARIZONA, TUCSON DIVISION

 Case number            4:19-bk-12276                                                                                                                        Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
   Yes.        Where is the property?




 1.1                                                                        What is the property? Check all that apply


        3529 Berkeley Ave
                                                                               Single-family home                             Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                                    Duplex or multi-unit building
        Street address, if available, or other description                                                                    Creditors Who Have Claims Secured by Property .
                                                                                    Condominium or cooperative
                                                                              
                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Alton                             IL        62002-3108                     Land                                       entire property?           portion you own?
        City                              State          ZIP Code                  Investment property                                $93,213.00                  $93,213.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.

                                                                               Debtor 1 only
                                                                                   Debtor 2 only
        County                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                                   At least one of the debtors and another
                                                                                                                                  (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
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 Debtor 1        Baker, Jamie Kaye                                                                                    Case number (if known)          4:19-bk-12276
       If you own or have more than one, list here:
 1.2                                                                 What is the property? Check all that apply


       506 William St
                                                                        Single-family home                                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
                                                                            Duplex or multi-unit building
       Street address, if available, or other description                                                                   Creditors Who Have Claims Secured by Property .
                                                                            Condominium or cooperative
                                                                       
                                                                           Manufactured or mobile home
                                                                                                                             Current value of the          Current value of the
       Alton                            IL         62002-6148              Land                                             entire property?              portion you own?
       City                             State           ZIP Code           Investment property                                      $71,894.00                     $71,894.00
                                                                           Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                           Other                                            (such as fee simple, tenancy by the entireties, or
                                                                     Who has an interest in the property? Check one          a life estate), if known.

                                                                        Debtor 1 only
                                                                           Debtor 2 only
       County                                                              Debtor 1 and Debtor 2 only
                                                                                                                                 Check if this is community property
                                                                           At least one of the debtors and another
                                                                                                                                (see instructions)
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:




       If you own or have more than one, list here:
 1.3                                                                 What is the property? Check all that apply


       2803 Hillcrest Ave
                                                                        Single-family home                                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
                                                                            Duplex or multi-unit building
       Street address, if available, or other description                                                                   Creditors Who Have Claims Secured by Property .
                                                                            Condominium or cooperative
                                                                       
                                                                           Manufactured or mobile home
                                                                                                                             Current value of the          Current value of the
       Alton                            IL         62002-2944              Land                                             entire property?              portion you own?
       City                             State           ZIP Code           Investment property                                      $85,576.00                     $85,576.00
                                                                           Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                           Other                                            (such as fee simple, tenancy by the entireties, or
                                                                     Who has an interest in the property? Check one          a life estate), if known.

                                                                        Debtor 1 only
                                                                           Debtor 2 only
       County                                                              Debtor 1 and Debtor 2 only
                                                                                                                                 Check if this is community property
                                                                           At least one of the debtors and another
                                                                                                                                (see instructions)
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                          $250,683.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                    Schedule A/B: Property                                                                              page 2
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 Debtor 1         Baker, Jamie Kaye                                                                            Case number (if known)     4:19-bk-12276
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
   Yes

  3.1    Make:                                              Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:                                             Debtor 1 only                                             Creditors Who Have Claims Secured by Property .
         Year:                                               Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                  At least one of the debtors and another
        2014 Toyota Avalon
        68,000 miles                                         Check if this is community property                              $13,131.00                 $13,131.00
                                                               (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                $13,131.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.     Describe.....
                                   Kitchen Table & Chairs-$100
                                   Living Room Couch-$125
                                   Living Room Chair-$75
                                   Coffee & End Tables-$25
                                   Lamps (Total # of Lamps: 1 )-$15
                                   Rugs-$40
                                   Beds (Total # of Beds: 3 )-$400
                                   Bed Table-$40
                                   Dressers-$400
                                   Bedding-$75
                                   Photos or Paintings by Debtor-$30
                                   TVs (Total # of TVs: 2 )-$200
                                   Vacuum Cleaner-$30
                                   Cooking Utensils-$15
                                   Dishware-$25
                                   Flatware-$15
                                   Glassware-$10
                                   Wall Décor-$15
                                   Other Small Appliances (Toaster, Coffee Maker)-$15
                                   Paintings, Art, or Other Decorative Items-$30
                                   Patio Furniture-$7
                                   Pots & Pans-$20
                                   Cutlery-$10
                                   Various handtools, paint rollers, paint supplies, drywall tools,
                                   buckets (removed from storage unit in IL.) $100                                                                          $1,717.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                        page 3
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 Debtor 1          Baker, Jamie Kaye                                                                                        Case number (if known)   4:19-bk-12276
7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
     Yes.       Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
     Yes.       Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
     Yes.       Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.       Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.        Describe.....
                                            Personal Clothing                                                                                                         $300.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.       Describe.....

13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
     Yes.       Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
    No
    Yes.        Give specific information.....
                                            HP Laptop                                                                                                                 $100.00



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                               $2,117.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
    No
Official Form 106A/B                                                                     Schedule A/B: Property                                                           page 4
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 Debtor 1        Baker, Jamie Kaye                                                                            Case number (if known)    4:19-bk-12276

    Yes........................                                              Institution name:
                                                                              Pyramid FCU (opend Sept 2019)
                                                                              Checking
                                        17.1.                                 xx0469                                                                     $60.00

                                                                              Pyramid FCU
                                        17.2.    Savings Account              Savings                                                                     $5.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
    Yes.      Give specific information about them...................
                                     Name of entity:                                                            % of ownership:
                                           Independent contractor as ESL teacher online                                           %                       $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                           Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                        Type of account:                      Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
   Yes. .....................                                    Institution name or individual:
                                        Security Deposit on                   Landlord                                                                  $400.00
                                        Rental Unit


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.     Give specific information about them...




Official Form 106A/B                                                   Schedule A/B: Property                                                             page 5
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27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...

 Money or property owed to you?                                                                                                                               Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.     Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                           Company name:                                                         Beneficiary:                                  Surrender or refund
                                                                                                                                                               value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.     Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.     Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.     Describe each claim.........

35. Any financial assets you did not already list
    No
     Yes.     Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................                 $465.00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
    Yes.    Go to line 38.




Official Form 106A/B                                                        Schedule A/B: Property                                                                              page 6
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 Debtor 1         Baker, Jamie Kaye                                                                                                     Case number (if known)   4:19-bk-12276
 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.      Go to line 47.



 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

 Part 8:         List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2 ......................................................................................................................              $250,683.00
 56. Part 2: Total vehicles, line 5                                                                           $13,131.00
 57. Part 3: Total personal and household items, line 15                                                       $2,117.00
 58. Part 4: Total financial assets, line 36                                                                     $465.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $15,713.00              Copy personal property total           $15,713.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $266,396.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                           page 7
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              Fill in this information to identify your case:

 Debtor 1                 Jamie Kaye Baker
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                     Last Name


 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA, TUCSON DIVISION

 Case number           4:19-bk-12276
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

      2014 Toyota Avalon                                                                                                          Ariz. Rev. Stat. § 33-1125(8)
      68,000 miles
                                                                    $13,131.00                                     $6,000.00
      Line from Schedule A/B: 3.1                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit

      Kitchen Table & Chairs-$100                                                                                                 Ariz. Rev. Stat. § 33-1123
      Living Room Couch-$125
                                                                      $1,717.00                                    $6,000.00
      Living Room Chair-$75                                                                  100% of fair market value, up to
      Coffee & End Tables-$25                                                                 any applicable statutory limit
      Lamps (Total # of Lamps: 1 )-$15
      Rugs-$40
      Beds (Total # of Beds: 3 )-$400
      Bed Table-$40
      Dressers-$400
      Bedding-$75
      Photos or Paintings by Debtor-$30
      Line from Schedule A/B: 6.1

      Personal Clothing                                                                                                           Ariz. Rev. Stat. § 33-1125(1)
      Line from Schedule A/B: 11.1
                                                                          $300.00                                    $500.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 1 of 2
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              Case 4:19-bk-12276-SHG                          Doc 10 Filed 10/08/19 Entered 10/08/19 12:47:22                                          Desc
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     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     HP Laptop                                                                                                              Ariz. Rev. Stat. § 33-1125(7)
     Line from Schedule A/B: 14.1
                                                                      $100.00                                $2,000.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Pyramid FCU (opend Sept 2019)                                                                                          Ariz. Rev. Stat. §
     Checking
                                                                       $60.00                                  $300.00
                                                                                                                            33-1126(A)(9)
     xx0469                                                                            100% of fair market value, up to
     Line from Schedule A/B: 17.1                                                       any applicable statutory limit

     Landlord                                                                                                               Ariz. Rev. Stat. § 33-1126(C)
     Line from Schedule A/B: 22.1
                                                                      $400.00                                $2,000.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 2 of 2
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              Fill in this information to identify your case:

 Debtor 1                   Jamie Kaye Baker
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:             DISTRICT OF ARIZONA, TUCSON DIVISION

 Case number           4:19-bk-12276
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Bank of America                          Describe the property that secures the claim:                 $17,177.00               $93,213.00                     $0.00
         Creditor's Name
                                                  3529 Berkeley Ave, Alton, IL
                                                  62002-3108
         Attn: Bankruptcy                         As of the date you file, the claim is: Check all that
         PO Box 982238                            apply.
         El Paso, TX 79998-2238                    Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a               Other (including a right to offset)     Deed of Trust
       community debt

 Date debt was incurred          2007-02                   Last 4 digits of account number        2172

 2.2     Chase Auto Finance                       Describe the property that secures the claim:                 $14,894.00               $13,131.00            $1,763.00
         Creditor's Name
                                                  2014 Toyota Avalon 68,000 miles
         Attn: Bankruptcy
         PO Box 901076                            As of the date you file, the claim is: Check all that
         Fort Worth, TX                           apply.
         76101-2076                                Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a               Other (including a right to offset)     Auto Loan
       community debt

 Date debt was incurred          2018-06                   Last 4 digits of account number        3597


Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 4
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 Debtor 1 Jamie Kaye Baker                                                                                 Case number (if known)   4:19-bk-12276
              First Name                  Middle Name                     Last Name


 2.3    Mr. Cooper                                 Describe the property that secures the claim:                  $58,838.00          $93,213.00           $0.00
        Creditor's Name
                                                   3529 Berkeley Ave, Alton, IL
        Attn: Bankruptcy                           62002-3108
        8950 Cypress Waters                        As of the date you file, the claim is: Check all that
        Blvd                                       apply.
        Coppell, TX 75019-4620                      Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)     Deed of Trust
       community debt

 Date debt was incurred         2007-02                     Last 4 digits of account number        8202

        Pennymac Loan
 2.4                                               Describe the property that secures the claim:                  $77,264.00          $71,894.00     $5,370.00
        Services
        Creditor's Name
                                                   506 William St, Alton, IL 62002-6148
        Correspondence
        Unit/Bankruptcy
                                                   As of the date you file, the claim is: Check all that
        PO Box 514387                              apply.
        Los Angeles, CA                             Contingent
        90051-4387
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)     Deed of Trust
       community debt

 Date debt was incurred         2013-03                     Last 4 digits of account number        9319

        Specialized Loan
 2.5                                               Describe the property that secures the claim:                  $52,972.00          $85,576.00           $0.00
        Servicing/Sls
        Creditor's Name
                                                   2803 Hillcrest Ave, Alton, IL
        Attn: Bankruptcy Dept                      62002-2944
        8742 Lucent Blvd Ste 300                   As of the date you file, the claim is: Check all that
        Highlands Ranch, CO                        apply.
        80129-2386                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)     Deed of Trust
       community debt

 Date debt was incurred         2005-08                     Last 4 digits of account number        9263




Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 4
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 Debtor 1 Jamie Kaye Baker                                                                                 Case number (if known)          4:19-bk-12276
              First Name                  Middle Name                     Last Name


        Specialized Loan
 2.6                                               Describe the property that secures the claim:                   $14,356.00                 $85,576.00               $0.00
        Servicing/Sls
        Creditor's Name
                                                   2803 Hillcrest Ave, Alton, IL
        Attn: Bankruptcy Dept                      62002-2944
        8742 Lucent Blvd Ste 300                   As of the date you file, the claim is: Check all that
        Highlands Ranch, CO                        apply.
        80129-2386                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)     Deed of Trust
       community debt

 Date debt was incurred         2005-08                     Last 4 digits of account number        4704


 Add the dollar value of your entries in Column A on this page. Write that number here:                                  $235,501.00
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                                 $235,501.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

         Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.1
         Bankamerica
         4909 Savarese Cir                                                                          Last 4 digits of account number   2172
         Tampa, FL 33634-2413

         Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.2
         Jpmcb Auto
         PO Box 901003                                                                              Last 4 digits of account number   3597
         Ft Worth, TX 76101-2003

         Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.3
         Nationstar/mr Cooper
         350 Highland St                                                                            Last 4 digits of account number   8202
         Houston, TX 77009-6623

         Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.4
         PennyMac
         3043 Townsgate Rd Ste 200                                                                  Last 4 digits of account number   9319
         Westlake Village, CA 91361-5860

         Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.4
         Pennymac Loan Services
         6101 Condor Dr                                                                             Last 4 digits of account number   9319
         Moorpark, CA 93021-2602




Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                                page 3 of 4
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           Case 4:19-bk-12276-SHG                              Doc 10 Filed 10/08/19 Entered 10/08/19 12:47:22                                                  Desc
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 Debtor 1 Jamie Kaye Baker                                                               Case number (if known)          4:19-bk-12276
             First Name                Middle Name               Last Name



        Name, Number, Street, City, State & Zip Code                              On which line in Part 1 did you enter the creditor?   2.4
        PennyMac Loan Services
        Attn: Bankruptcy                                                          Last 4 digits of account number   9319
        PO Box 514387
        Los Angeles, CA 90051-4387

        Name, Number, Street, City, State & Zip Code                              On which line in Part 1 did you enter the creditor?   2.4
        PennyMac Loan Servicing
        PO Box 9109                                                               Last 4 digits of account number   9319
        Temecula, CA 92589

        Name, Number, Street, City, State & Zip Code                              On which line in Part 1 did you enter the creditor?   2.4
        PennyMac Loan Servicing
        PO Box 30597                                                              Last 4 digits of account number   9319
        Los Angeles, CA 90030

        Name, Number, Street, City, State & Zip Code                              On which line in Part 1 did you enter the creditor?   2.5
        Specialized Loan Servi
        8742 Lucent Blvd Ste 300                                                  Last 4 digits of account number   9263
        Highlands Ranch, CO 80129-2386

        Name, Number, Street, City, State & Zip Code                              On which line in Part 1 did you enter the creditor?   2.6
        Specialized Loan Servi
        8742 Lucent Blvd Ste 300                                                  Last 4 digits of account number   4704
        Highlands Ranch, CO 80129-2386

        Name, Number, Street, City, State & Zip Code                              On which line in Part 1 did you enter the creditor?   2.5
        Specialized Loan Servicing
        PO Box 620188                                                             Last 4 digits of account number   9263
        Atlanta, GA 30362

        Name, Number, Street, City, State & Zip Code                              On which line in Part 1 did you enter the creditor?   2.5
        Standard Guaranty Ins Co
        PO Box 50355                                                              Last 4 digits of account number   9263
        Atlanta, GA 30302




Official Form 106D                  Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                 page 4 of 4
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          Case 4:19-bk-12276-SHG                            Doc 10 Filed 10/08/19 Entered 10/08/19 12:47:22                                   Desc
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      Fill in this information to identify your case:

 Debtor 1                  Jamie Kaye Baker
                           First Name                       Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                          Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA, TUCSON DIVISION

 Case number           4:19-bk-12276
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

       No. Go to Part 2.
        Yes.

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1          1st Midamerica Credit                                  Last 4 digits of account number         9201                                                     $12,115.00
              Nonpriority Creditor's Name
                                                                     When was the debt incurred?             2013-08
              419 N Shamrock St
              East Alton, IL 62024-1174
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
               Debtor 2 only                                         Unliquidated
               Debtor 1 and Debtor 2 only                            Disputed
               At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                Student loans
              debt                                                    Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                        report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                  Other. Specify      Revolving account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 14
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 Debtor 1 Baker, Jamie Kaye                                                                         Case number (if known)            4:19-bk-12276

 4.2      A Storage Inn                                         Last 4 digits of account number                                                        $1,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          4011 Humbert Rd
          Alton, IL 62002-7114
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.3      ADT Security                                          Last 4 digits of account number       1592                                               $300.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          3190 S Vaughn Way
          Aurora, CO 80014-3512
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.4      American Air Heating & Cooling                        Last 4 digits of account number                                                          $150.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          191 N Old Saint Louis Rd # N
          Wood River, IL 62095-1434
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 14
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 Debtor 1 Baker, Jamie Kaye                                                                         Case number (if known)            4:19-bk-12276

 4.5      Chase Card Services                                   Last 4 digits of account number       5211                                             $7,871.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2018-05
          PO Box 15298
          Wilmington, DE 19850-5298
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.6      Chase Card Services                                   Last 4 digits of account number       4512                                             $5,330.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2006-08
          PO Box 15298
          Wilmington, DE 19850-5298
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.7      City of Alton                                         Last 4 digits of account number                                                          $600.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 188
          Alton, IL 62002-0188
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




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 4.8      Comenity Bank/Express                                 Last 4 digits of account number       2313                                               $688.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2018-09
          PO Box 182125
          Columbus, OH 43218-2125
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.9      Comenity Bank/Victoria Secret                         Last 4 digits of account number       6150                                               $183.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2017-11
          PO Box 182125
          Columbus, OH 43218-2125
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.10     Department of Education/Nelnet                        Last 4 digits of account number       4505                                             $11,286.00
          Nonpriority Creditor's Name
          Attn: Claims                                          When was the debt incurred?           2014-12
          PO Box 82505
          Lincoln, NE 68501-2505
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
                                                                Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community              Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify
                                                                                     Installment account




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 4.11     Department of Education/Nelnet                        Last 4 digits of account number       4605                                               $423.00
          Nonpriority Creditor's Name
          Attn: Claims                                          When was the debt incurred?           2015-01
          PO Box 82505
          Lincoln, NE 68501-2505
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
                                                                Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community              Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify
                                                                                     Installment account
 4.12     Edfinancial Services                                  Last 4 digits of account number       6724                                             $25,051.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2010-09
          PO Box 36008
          Knoxville, TN 37930-6008
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
                                                                Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community              Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify
                                                                                     Installment account
 4.13     Edfinancial Services                                  Last 4 digits of account number       6724                                             $24,851.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2015-07
          PO Box 36008
          Knoxville, TN 37930-6008
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
                                                                Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community              Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify
                                                                                     Installment account




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 4.14     Edfinancial Services                                  Last 4 digits of account number       9824                                             $23,371.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2016-07
          PO Box 36008
          Knoxville, TN 37930-6008
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
                                                                Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community              Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify
                                                                                     Installment account
 4.15     Edfinancial Services                                  Last 4 digits of account number       6824                                             $18,832.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2010-09
          PO Box 36008
          Knoxville, TN 37930-6008
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
                                                                Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community              Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify
                                                                                     Installment account
 4.16     Edfinancial Services                                  Last 4 digits of account number       1924                                             $11,379.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2017-07
          PO Box 36008
          Knoxville, TN 37930-6008
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
                                                                Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community              Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify
                                                                                     Installment account




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 4.17     Edfinancial Services                                  Last 4 digits of account number       2224                                             $10,701.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2018-07
          PO Box 36008
          Knoxville, TN 37930-6008
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
                                                                Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community              Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify
                                                                                     Installment account
 4.18     Edfinancial Services                                  Last 4 digits of account number       6224                                              $5,498.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2018-04
          PO Box 36008
          Knoxville, TN 37930-6008
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
                                                                Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community              Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify
                                                                                     Installment account
 4.19     Edfinancial Services                                  Last 4 digits of account number       7624                                              $4,419.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2018-02
          PO Box 36008
          Knoxville, TN 37930-6008
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
                                                                Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community              Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify
                                                                                     Installment account




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 4.20     Edfinancial Services                                  Last 4 digits of account number       9424                                             $3,086.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2019-07
          PO Box 36008
          Knoxville, TN 37930-6008
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
                                                                Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community              Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify
                                                                                     Installment account
 4.21     Edfinancial Services                                  Last 4 digits of account number       8724                                             $2,321.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2019-02
          PO Box 36008
          Knoxville, TN 37930-6008
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
                                                                Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community              Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify
                                                                                     Installment account
 4.22     Edfinancial Services                                  Last 4 digits of account number       9424                                             $2,290.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2019-04
          PO Box 36008
          Knoxville, TN 37930-6008
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
                                                                Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community              Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify
                                                                                     Installment account




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 4.23     Edfinancial Services                                  Last 4 digits of account number       9324                                             $1,819.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2019-04
          PO Box 36008
          Knoxville, TN 37930-6008
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
                                                                Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community              Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify
                                                                                     Installment account
 4.24     Edfinancial Services                                  Last 4 digits of account number       9524                                                   $2.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2019-07
          PO Box 36008
          Knoxville, TN 37930-6008
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
                                                                Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community              Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify
                                                                                     Installment account
 4.25     Genesis Bc/Celtic Bank                                Last 4 digits of account number       2548                                               $427.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2018-07
          PO Box 4477
          Beaverton, OR 97076-4401
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.26     Sallie Mae                                            Last 4 digits of account number       1773                                             $11,153.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2018-04
          PO Box 6299
          Wilmington, DE 19804-0899
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
                                                                Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community              Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify
                                                                                     Installment account
 4.27     Syncb/zulily                                          Last 4 digits of account number       0177                                               $502.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2018-05
          PO Box 965060
          Orlando, FL 32896-5060
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.28     Synchrony Bank/Amazon                                 Last 4 digits of account number       1452                                               $692.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2018-09
          PO Box 965060
          Orlando, FL 32896-5060
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.29      Synchrony Bank/Qvc                                     Last 4 digits of account number         2318                                                 $292.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy Dept                                  When was the debt incurred?             2019-01
           PO Box 965060
           Orlando, FL 32896-5060
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                          Contingent
            Debtor 2 only                                         Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims
           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify       Revolving account


 4.30      Upstart                                                Last 4 digits of account number         7242                                               $9,972.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                       When was the debt incurred?             2018-08-02
           PO Box 1503
           San Carlos, CA 94070-7503
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                          Contingent
            Debtor 2 only                                         Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims

           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify       Installment account

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Cb Indigo/gf                                               Line 4.25 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 4499                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Beaverton, OR 97076-4499
                                                            Last 4 digits of account number                    2548
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Comenity Bank/Express                                      Line 4.8 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 182789                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43218-2789
                                                            Last 4 digits of account number                    2313
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Comenitybank/victoria                                      Line 4.9 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 182789                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43218-2789
                                                            Last 4 digits of account number                    6150
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 11 of 14
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 Debtor 1 Baker, Jamie Kaye                                                                             Case number (if known)       4:19-bk-12276
 Dept of Education/Neln                                     Line 4.10 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 82561                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Lincoln, NE 68501-2561
                                                            Last 4 digits of account number                    4505
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Dept of Education/Neln                                     Line 4.11 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 82561                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Lincoln, NE 68501-2561
                                                            Last 4 digits of account number                    4605
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Edfinancial Services L                                     Line 4.12 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 120 N Seven Oaks Dr                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Knoxville, TN 37922-2359
                                                            Last 4 digits of account number                    6724
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Edfinancial Services L                                     Line 4.13 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 120 N Seven Oaks Dr                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Knoxville, TN 37922-2359
                                                            Last 4 digits of account number                    6724
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Edfinancial Services L                                     Line 4.14 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 120 N Seven Oaks Dr                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Knoxville, TN 37922-2359
                                                            Last 4 digits of account number                    9824
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Edfinancial Services L                                     Line 4.15 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 120 N Seven Oaks Dr                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Knoxville, TN 37922-2359
                                                            Last 4 digits of account number                    6824
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Edfinancial Services L                                     Line 4.16 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 120 N Seven Oaks Dr                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Knoxville, TN 37922-2359
                                                            Last 4 digits of account number                    1924
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Edfinancial Services L                                     Line 4.17 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 120 N Seven Oaks Dr                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Knoxville, TN 37922-2359
                                                            Last 4 digits of account number                    2224
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Edfinancial Services L                                     Line 4.18 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 120 N Seven Oaks Dr                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Knoxville, TN 37922-2359
                                                            Last 4 digits of account number                    6224
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Edfinancial Services L                                     Line 4.19 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 120 N Seven Oaks Dr                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Knoxville, TN 37922-2359
                                                            Last 4 digits of account number                    7624
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Edfinancial Services L                                     Line 4.20 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 120 N Seven Oaks Dr                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Knoxville, TN 37922-2359
                                                            Last 4 digits of account number                    9424
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 12 of 14
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          Case 4:19-bk-12276-SHG                            Doc 10 Filed 10/08/19 Entered 10/08/19 12:47:22                                                 Desc
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 Debtor 1 Baker, Jamie Kaye                                                                          Case number (if known)         4:19-bk-12276
 Edfinancial Services L                                     Line 4.21 of (Check one):               Part 1: Creditors with Priority Unsecured Claims
 120 N Seven Oaks Dr                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Knoxville, TN 37922-2359
                                                            Last 4 digits of account number                  8724
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Edfinancial Services L                                     Line 4.22 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 120 N Seven Oaks Dr                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Knoxville, TN 37922-2359
                                                            Last 4 digits of account number                  9424
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Edfinancial Services L                                     Line 4.23 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 120 N Seven Oaks Dr                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Knoxville, TN 37922-2359
                                                            Last 4 digits of account number                  9324
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Edfinancial Services L                                     Line 4.24 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 120 N Seven Oaks Dr                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Knoxville, TN 37922-2359
                                                            Last 4 digits of account number                  9524
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Jpmcb Card                                                 Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 15298                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850-5298
                                                            Last 4 digits of account number                  5211
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Jpmcb Card                                                 Line 4.6 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 15298                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850-5298
                                                            Last 4 digits of account number                  4512
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Syncb/amazon                                               Line 4.28 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 965015                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5015
                                                            Last 4 digits of account number                  1452
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Syncb/qvc                                                  Line 4.29 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 965005                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5005
                                                            Last 4 digits of account number                  2318
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Syncb/zulily                                               Line 4.27 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 C/o                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 965017
 Orlando, FL 32896-5017
                                                            Last 4 digits of account number                  0177
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Upstart Network Inc.                                       Line 4.30 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 61203                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Palo Alto, CA 94306-6203
                                                            Last 4 digits of account number                  7242

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                             6a.       $                           0.00
 Total claims


Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 13 of 14
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 Debtor 1 Baker, Jamie Kaye                                                                             Case number (if known)    4:19-bk-12276
 from Part 1            6b.   Taxes and certain other debts you owe the government                        6b.     $                      0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.     $                      0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.     $                      0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.     $                      0.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.     $               156,482.00
 Total claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.     $                      0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.     $                      0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                               $                 40,122.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.     $               196,604.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 14 of 14
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              Fill in this information to identify your case:

 Debtor 1                 Jamie Kaye Baker
                          First Name                         Middle Name           Last Name

 Debtor 2
 (Spouse if, filing)      First Name                         Middle Name          Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA, TUCSON DIVISION

 Case number           4:19-bk-12276
 (if known)
                                                                                                                                        Check if this is an
                                                                                                                                         amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
       unexpired leases.


           Person or company with whom you have the contract or lease                State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      A Storage Inn                                                              5 x 5 storage unit       Surrender
              4011 Humbert Rd
              Alton, IL 62002-7114

     2.2      Pinnacle Heights                                                          Debtor's residence, pays $1136 per month
              7990 E Snyder Rd
              Tucson, AZ 85750-6530




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
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              Fill in this information to identify your case:

 Debtor 1                   Jamie Kaye Baker
                            First Name                            Middle Name         Last Name

 Debtor 2
 (Spouse if, filing)        First Name                            Middle Name         Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF ARIZONA, TUCSON DIVISION

 Case number            4:19-bk-12276
 (if known)
                                                                                                                                    Check if this is an
                                                                                                                                     amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
      Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                 No
                Yes.

                        In which community state or territory did you live?           AZ              . Fill in the name and current address of that person.
                        Bradley Woelfel
                        Name of your spouse, former spouse, or legal equivalent
                        Number, Street, City, State & Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                     State                        ZIP Code




    3.2                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                     State                        ZIP Code




Official Form 106H                                                                Schedule H: Your Codebtors                                      Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Jamie Kaye Baker

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       DISTRICT OF ARIZONA, TUCSON DIVISION

Case number               4:19-bk-12276                                                                    Check if this is:
(If known)
                                                                                                              An amended filing
                                                                                                              A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                     Employed
       attach a separate page with           Employment status*
                                                                      Not employed                                Not employed
       information about additional
       employers.
                                             Occupation              See Schedule Attached
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student or Employer's address
       homemaker, if it applies.


                                             How long employed there?
                                                                                *See Attachment for Additional Employment Information

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                               non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $         1,800.00        $             N/A

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $      1,800.00               $       N/A




Official Form 106I                                               Schedule I: Your Income
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Debtor 1     Baker, Jamie Kaye                                                                      Case number (if known)    4:19-bk-12276


                                                                                                        For Debtor 1            For Debtor 2 or
                                                                                                                                non-filing spouse
      Copy line 4 here                                                                      4.          $      1,800.00         $              N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $              0.00     $               N/A
      5b.    Mandatory contributions for retirement plans                                    5b.        $              0.00     $               N/A
      5c.    Voluntary contributions for retirement plans                                    5c.        $              0.00     $               N/A
      5d.    Required repayments of retirement fund loans                                    5d.        $              0.00     $               N/A
      5e.    Insurance                                                                       5e.        $              0.00     $               N/A
      5f.    Domestic support obligations                                                    5f.        $              0.00     $               N/A
      5g.    Union dues                                                                      5g.        $              0.00     $               N/A
      5h.    Other deductions. Specify:                                                      5h.+       $              0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $                  0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $          1,800.00         $               N/A
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00     $               N/A
      8b. Interest and dividends                                                             8b.        $              0.00     $               N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00     $               N/A
      8d. Unemployment compensation                                                          8d.        $              0.00     $               N/A
      8e.    Social Security                                                                 8e.        $              0.00     $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                0.00   $                     N/A
      8g. Pension or retirement income                                                       8g. $                 0.00   $                     N/A
      8h. Other monthly income. Specify: Varsity Tutors                                      8h.+ $              247.42 + $                     N/A
             QKids                                                                                $            1,827.00   $                     N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $          2,074.42         $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            3,874.42 + $             N/A = $           3,874.42
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.      +$             0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.         $          3,874.42
                                                                                                                                           Combined
                                                                                                                                           monthly income




Official Form 106I                                             Schedule I: Your Income
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13. Do you expect an increase or decrease within the year after you file this form?
         No.
     Yes. Explain: Debtor will have 4 sources of income post petition.
                          1. Tanque Verde School District as a substitute teacher, W2 employee, at the rate of $95 per day
                          beginning Sept 2019;
                          2. Express Professional (temp agency) as a substitute teacher,W2 employee, at the rate of $105
                          per day beginning Sept 2019 ;
                          3. Varsity Tutors which began Feb 2019 as an Independent Contractor at the rate of $15 per
                          session and she will complete 2 or 3 sessions per week and;
                          4. Qkids as an Independent Contractor beginning Sept 2019 at the rate $17 per hour and she
                          works about 20 to 30 sessions per week.

                          She previously worked for VIP Kid as an Independent Contractor from Sept 2017 - July 2019 and
                          Southgate Academy as a W2 employee which began July 2019 and ended Aug 31, 2019.

                          Last rental income collected on the Hillcrest property was in July 2019. The rental income was
                          $845 per month less first mortgage of $645 and second mortgage of $146, both of which were paid
                          through July 2019.

                          Last rental in




Official Form 106I                                      Schedule I: Your Income
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Debtor 1    Baker, Jamie Kaye                                       Case number (if known)   4:19-bk-12276


                                                Official Form B 6I
                                Attachment for Additional Employment Information

Debtor
Occupation
Name of Employer       Express Professional
How long employed
Address of Employer

Debtor
Occupation
Name of Employer       Tanque Verde School District
How long employed
Address of Employer




Official Form 106I                                   Schedule I: Your Income
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Fill in this information to identify your case:

Debtor 1                Jamie Kaye Baker                                                                     Check if this is:
                                                                                                              An amended filing
Debtor 2                                                                                                      A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF ARIZONA, TUCSON DIVISION                                       MM / DD / YYYY

Case number           4:19-bk-12276
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
      No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                          Yes.    Fill out this information for
                                                   each dependent..............
                                                                                   Dependent’  s relationship to
                                                                                   Debtor 1 or Debtor 2
                                                                                                                        Dependent’
                                                                                                                        age
                                                                                                                                 s      Does dependent
                                                                                                                                        live with you?

      Do not state the                                                                                                                   No
      dependents names.                                                            Child                                21              Yes
                                                                                                                                         No
                                                                                   Child                                17              Yes
                                                                                                                                         No
                                                                                                                                         Yes
                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include
      expenses of people other than
                                                 No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                           1,136.00

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                             0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                             0.00
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                             0.00




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6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              115.00
      6b. Water, sewer, garbage collection                                                     6b. $                                                35.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              370.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                             7. $                                              685.00
8.    Childcare and children’     s education costs                                              8. $                                                0.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                              160.00
10.   Personal care products and services                                                      10. $                                                75.00
11.   Medical and dental expenses                                                              11. $                                                25.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               215.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                50.00
14.   Charitable contributions and religious donations                                         14. $                                                 0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                 0.00
      15b. Health insurance                                                                   15b. $                                                 0.00
      15c. Vehicle insurance                                                                  15c. $                                               180.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                               351.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                 0.00
      17c. Other. Specify: Attorney Fee 10 months                                             17c. $                                               200.00
      17d. Other. Specify:                                                                    17d. $                                                 0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                 0.00
      20b. Real estate taxes                                                                  20b. $                                                 0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                 0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                 0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                 0.00
21.   Other: Specify:        Miscellaneous                                                     21. +$                                              225.00
      Housekeeping supplies                                                                         +$                                              45.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       3,867.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       3,867.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               3,874.42
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              3,867.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                    7.42

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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            Fill in this information to identify your case:

 Debtor 1                 Jamie Kaye Baker
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA, TUCSON DIVISION

 Case number           4:19-bk-12276
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

             Married
             Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1 lived      Debtor 2 Prior Address:                                Dates Debtor 2
                                                                there                                                                            lived there
        3529 Berkeley Ave                                       From-To:                   Same as Debtor 1                                      Same as Debtor 1
        Alton, IL 62002-3108                                    Jan 2015 - Jan 3,                                                                From-To:
                                                                2017


3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                                 Debtor 1                                                        Debtor 2
                                                 Sources of income                 Gross income                  Sources of income               Gross income
                                                 Check all that apply.             (before deductions and        Check all that apply.           (before deductions
                                                                                   exclusions)                                                   and exclusions)

 From January 1 of current year until            Wages, commissions,                         $16,566.00          Wages, commissions,
 the date you filed for bankruptcy:                                                                              bonuses, tips
                                                 bonuses, tips
                                                  Operating a business                                           Operating a business

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                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                Gross income                  Sources of income           Gross income
                                                  Check all that apply.            (before deductions and        Check all that apply.       (before deductions
                                                                                   exclusions)                                               and exclusions)

 For last calendar year:                          Wages, commissions,                        $61,404.00          Wages, commissions,
 (January 1 to December 31, 2018 )                                                                               bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                          Operating a business

 For the calendar year before that:               Wages, commissions,                        $52,703.00          Wages, commissions,
 (January 1 to December 31, 2017 )                                                                               bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                          Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                Gross income from             Sources of income           Gross income
                                                  Describe below.                  each source                   Describe below.             (before deductions
                                                                                   (before deductions and                                    and exclusions)
                                                                                   exclusions)
 For last calendar year:                          2018 Rental Real                           $-25,000.00
 (January 1 to December 31, 2018 )                Estate, 3 properties
                                                  in Alton, IL.

                                                  2018 Federal Tax                              $2,536.00
                                                  Refund

                                                  2018 AZ Tax Refund                              $916.00

 For the calendar year before that:               2017 Taxable                                  $1,838.00
 (January 1 to December 31, 2017 )                Refunds

                                                  2017 Rental Real                           $-25,000.00
                                                  Estate, 3 properties
                                                  in Alton, Il.

                                                  2017 Federal Tax                              $1,949.00
                                                  Refund

                                                  2017 AZ Tax Refund                            $1,320.00

                                                  2017 MO Tax Refund                              $114.00


 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’ s or Debtor 2’   s debts primarily consumer debts?
       No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “
                                                                                                                            incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                        No.      Go to line 7.
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                        Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.      Go to line 7.
                     Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                           Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                   paid             still owe
       JPmorgan Chase Bank                                   3 monthly                        $1,053.00          $14,894.00         Mortgage
       PO Box 15298                                          payments of $351                                                      Car
       Wilmington, DE 19850-5298
                                                                                                                                    Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

           No
           Yes. List all payments to an insider.
       Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

           No
           Yes. Fill in the details.
       Case title                                            Nature of the case           Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                             Describe the Property                                          Date                        Value of the
                                                                                                                                                           property
                                                             Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
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      accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
       Creditor Name and Address                               Describe the action the creditor took                         Date action was            Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave                Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                     Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                     Date of your      Value of property
       how the loss occurred                                                                                                 loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 ofSchedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                  Date payment or          Amount of
       Address                                                        transferred                                            transfer was              payment
       Email or website address                                                                                              made
       Person Who Made the Payment, if Not You
       Arizona Law Group Of Trezza & Assoc                            Apayment of $399                                       9/16/2019                 $399.00
       LLC
       4011 E Broadway Blvd # 500
       Tucson, AZ 85711-3451




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17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                          Description and value of any property                    Date payment or            Amount of
       Address                                                      transferred                                              transfer was                payment
                                                                                                                             made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
       Person Who Received Transfer                                 Description and value of                   Describe any property or        Date transfer was
       Address                                                      property transferred                       payments received or debts      made
                                                                                                               paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
       Name of trust                                                Description and value of the property transferred                          Date Transfer was
                                                                                                                                               made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
     No
           Yes. Fill in the details.
       Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was        Last balance before
       Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,            closing or transfer
       Code)                                                                                                           moved, or
                                                                                                                       transferred
       1st Midamerica CU                                      XXXX-5094                   Checking                    Sept 2019                            $0.00
                                                                                           Savings
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       1st Midamerica CU                                      XXXX-5094                    Checking                   Sept 2019                            $0.00
                                                                                          Savings
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       HSA                                                    XXXX-                        Checking                   March 2018                           $0.00
                                                                                           Savings
                                                                                           Money Market
                                                                                           Brokerage
                                                                                          Other     HSA




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21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
       Name of Financial Institution                               Who else had access to it?                 Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State                                            have it?
                                                                   and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
       Name of Storage Facility                                    Who else has or had access                 Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)          to it?                                                                          have it?
                                                                   Address (Number, Street, City, State
                                                                   and ZIP Code)

       A Storage Inn                                               Mother                                     Empty. Mother took                   No
       4011 Humbert Rd                                                                                        possession of the items Sept          Yes
       Alton, IL 62002-7114                                                                                   2019. Tools used to repair the
                                                                                                              rental properties. Scrap
                                                                                                              books.


 Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

           No
           Yes. Fill in the details.
       Owner's Name                                                Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)          (Number, Street, City, State and ZIP
                                                                   Code)

 Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
       Name of site                                                Governmental unit                              Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                   ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
       Name of site                                                Governmental unit                              Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                   ZIP Code)


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26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
        Case Title                                                 Court or agency                        Nature of the case                    Status of the
        Case Number                                                Name                                                                         case
                                                                   Address (Number, Street, City, State
                                                                   and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                        Describe the nature of the business               Employer Identification number
        Address                                                                                                Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                               Dates business existed
        Independent Contractor                               Debtor works as an independent                    EIN:
                                                             contractor tutor/teacher for
                                                             various organizations.                            From-To      2017 - present
                                                             Sometimes as an English as a
                                                             second language teacher on line
                                                             and other times in person.



28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
        Name                                                 Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Jamie Kaye Baker
 Jamie Kaye Baker                                                      Signature of Debtor 2
 Signature of Debtor 1

 Date      October 8, 2019                                             Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No
Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 7

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 Debtor 1     Baker, Jamie Kaye                                                                           Case number (if known)   4:19-bk-12276


 Yes. Name of Person                . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 8

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      Fill in this information to identify your case:

Debtor 1                    Jamie Kaye Baker
                            First Name             Middle Name             Last Name

Debtor 2
(Spouse if, filing)         First Name             Middle Name             Last Name


United States Bankruptcy Court for the:        DISTRICT OF ARIZONA, TUCSON DIVISION

Case number              4:19-bk-12276
(if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Jamie Kaye Baker                                              X
             Jamie Kaye Baker                                                  Signature of Debtor 2
             Signature of Debtor 1

             Date       October 8, 2019                                        Date




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                                                              United States Bankruptcy Court
                                                              District of Arizona, Tucson Division
 In re      Baker, Jamie Kaye                                                                           Case No.   4:19-bk-12276
                                                                               Debtor(s)                Chapter    7

                                                                                                      Check if this is an
                                                                                                     Amended/Supplemental Mailing List
                                                                                                     (Include only newly added or
                                                                                                     changed creditors.)


                                                            MAILING LIST DECLARATION


            I, Jamie Kaye Baker , do hereby certify, under penalty of perjury, that the Master Mailing List, consisting of         17

page(s), is complete, correct and consistent with the debtor(s)' Schedules.




 Date: October 8, 2019                                              /s/ Jamie Kaye Baker
                                                                    Jamie Kaye Baker
                                                                    Signature of Debtor




MML_Requirements_8-2018                                                                                                               MML-3

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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Jamie Kaye Baker
 Debtor 2
 (Spouse, if filing)
                                                                                                      1. There is no presumption of abuse
 United States Bankruptcy Court for the:          District of Arizona, Tucson Division
                                                                                                       2. The calculation to determine if a presumption of abuse
                                                                                                             applies will be made underChapter 7 Means Test
                                                                                                             Calculation (Official Form 122A-2).
 Case number           4:19-bk-12276
 (if known)                                                                                            3. The Means Test does not apply now because of qualified
                                                                                                             military service but it could apply later.
                                                                                                        Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                  10/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach
a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
        Not married. Fill out Column A, lines 2-11.
         Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
         Married and your spouse is NOT filing with you. You and your spouse are:
          Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
          Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                  penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
                  apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
    6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses
    own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                        Column A                 Column B
                                                                                                        Debtor 1                 Debtor 2 or
                                                                                                                                 non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                                      $                    794.95       $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                    $                       0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents, and
     roommates. Include regular contributions from a spouse only if Column B is not filled in.
     Do not include payments you listed on line .3                                             $                       0.00      $
  5. Net income from operating a business, profession, or farm
                                                                        Debtor 1
        Gross receipts (before all deductions)                            $    0.00
        Ordinary and necessary operating expenses                        -$    0.00
        Net monthly income from a business, profession, or farm $              0.00 Copy here -> $                     0.00      $
  6. Net income from rental and other real property
                                                                                  Debtor 1
        Gross receipts (before all deductions)                      $            1,489.17
        Ordinary and necessary operating expenses                  -$           -1,387.17
        Net monthly income from rental or other real                                          Copy
        property                                                    $              102.00 here -> $                 102.00       $
                                                                                                        $              0.00      $
  7. Interest, dividends, and royalties




Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                   page 1
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 Debtor 1     Baker, Jamie Kaye                                                                          Case number (if known)   4:19-bk-12276


                                                                                                     Column A                     Column B
                                                                                                     Debtor 1                     Debtor 2 or
                                                                                                                                  non-filing spouse
  8. Unemployment compensation                                                                       $                 0.00       $
       Do not enter the amount if you contend that the amount received was a benefit under the
       Social Security Act. Instead, list it here:
            For you                                                   $                 0.00
            For your spouse                                           $
  9. Pension or retirement income. Do not include any amount received that was a benefit
      under the Social Security Act. Also, except as stated in the next sentence, do not
      include any compensation, pension, pay, annuity, or allowance paid by the United States
      Government in connection with a disability, combat-related injury or disability, or death of
      a member of the uniformed services. If you received any retired pay paid under chapter
      61 of title 10, then include that pay only to the extent that it does not exceed the amount
      of retired pay to which you would otherwise be entitled if retired under any provision of
      title 10 other than chapter 61 of that title.                                                $                   0.00       $
  10. Income from all other sources not listed above. Specify the source and amount. Do
      not include any benefits received under the Social Security Act; payments received as a
      victim of a war crime, a crime against humanity, or international or domestic terrorism; or
      compensation, pension, pay, annuity, or allowance paid by the United States
      Government in connection with a disability, combat-related injury or disability, or death of
      a member of the uniformed services. If necessary, list other sources on a separate page
      and put the total below.
              . Varsity Tutors Independent Contractor                                              $                247.42        $
                  VIP Kid as an Independent Contractor                                               $           1,609.50         $
                  Total amounts from separate pages, if any.                                    +    $                 0.00       $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.               $       2,753.87          +   $                  =    $      2,753.87

                                                                                                                                                  Total current monthly
                                                                                                                                                  income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                                Copy line 11 here=>            $          2,753.87

              Multiply by 12 (the number of months in a year)                                                                                      x 12
       12b. The result is your annual income for this part of the form                                                                  12b. $         33,046.44

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                    AZ

       Fill in the number of people in your household.                         3
       Fill in the median family income for your state and size of household.                                                    13.          $        70,976.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions for this
                                                                   ’
       form. This list may also be available at the bankruptcy clerk
                                                                   s office.

  14. How do the lines compare?
       14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1,
                                                                                                 There is no presumption of abuse.
                      Go to Part 3.
       14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Jamie Kaye Baker
                Jamie Kaye Baker
                Signature of Debtor 1
        Date October 8, 2019
Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                   page 2
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 Debtor 1    Baker, Jamie Kaye                                                                      Case number (if known)   4:19-bk-12276
                MM / DD / YYYY
             If you checked line 14a, do NOT fill out or file Form 122A-2.
             If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                  page 3
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                                                              United States Bankruptcy Court
                                                             District of Arizona, Tucson Division
 In re       Baker, Jamie Kaye                                                                               Case No.     4:19-bk-12276
                                                                             Debtor(s)                       Chapter      7

                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                  2,000.00
             Prior to the filing of this statement I have received                                       $                       0.00
             Balance Due                                                                                 $                  2,000.00

2.     The source of the compensation paid to me was:
                   Debtor         Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor         Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Debtor paid $399 prior to filing which was used to pay costs.

                    Pre Petition services rendered:

                    Free consultations with client as needed which includes analysis of Debtor’  s income, assets and liabilities,
                    assistance with client questionnaire; preparation and filing of a Chapter 7 Voluntary Petition, Pre-filing Credit
                    Counseling Briefing Certificate and List of Creditors.

                    Post Petition services to be rendered:

                    Attorney review of all source documentation and preparation, revisions, review and filing of Form 122,
                    Statement of Financial Affairs and Schedules; attorney conducted signing appointment; preparation for and
                    attendance at Section 341 Meeting of Creditors; review and attendance (if necessary) to motions for stay relief;
                    review of any redemption agreements; review of any reaffirmation agreements and attendance at reaffirmation
                    agreement hearings; continued communication with client; preparation and filing of Notice of Bankruptcy Filing
                    in state courts; noticing Substitute Trustee’
                                                                s to stop Trustee Sales; noticing garnishees and opposing
                    attorneys to stop garnishment proceedings; follow through with case administration and monitoring.

                    For Post Petition services Debtor has agreed to pay $100 bi-weekly until paid in full.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:




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                                                            Debtor(s)

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                              (Continuation Sheet)
                                                                        CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 8, 2019                                                         /s/ Stephen Trezza
     Date                                                                    Stephen Trezza
                                                                             Signature of Attorney
                                                                             Arizona Law Group Of Trezza & Assoc LLC

                                                                             4011 E Broadway Blvd # 500
                                                                             Tucson, AZ 85711-3451

                                                                             attorney7335@gmail.com
                                                                             Name of law firm




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              Fill in this information to identify your case:

 Debtor 1                   Jamie Kaye Baker
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF ARIZONA, TUCSON DIVISION

 Case number           4:19-bk-12276
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $             250,683.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              15,713.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             266,396.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $             235,501.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                 $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                   $             196,604.00


                                                                                                                                     Your total liabilities $                   432,105.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $                3,874.42

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                3,867.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $    2,753.87


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                  0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            156,482.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $           156,482.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
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